      Case 4:15-cr-00437 Document 60 Filed on 01/19/17 in TXSD Page 1 of 1
                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                      IN THE UNITED STATES DISTRICT COURT                             January 19, 2017
                                                                                     David J. Bradley, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
                                               §
                                               §
VS.                                            §     CRIMINAL NO. H-15-437-2
                                               §
                                               §
JESSE PEREZ                                    §

                                          ORDER

       Counsel for defendant Perez filed a motion to withdraw as counsel of record, (Docket Entry

No. 58). The motion is granted. The magistrate judge will appoint new counsel for the defendant.

              SIGNED on January 19, 2017, at Houston, Texas.

                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      United States District Judge
